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F. #2020ROO 105

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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 UNITED STATES OF AMERICA                              PROTECTIVE ORDER
         - against -                                   Cr. No. 20-384 (WFK)
 GORGI NAUMOVSKI

                          Defendant.

 - ----- - - --- - - - --X

                                 PROTECTIVE ORDER
                            GOVERNING THE DISCLOSURE OF
                             CONFIDENTIAL INFORMATION

               To expedite the flow of discovery material between the parties, facilitate the

prompt resolution of disputes over confidentiality, adequately protect individually

identifiable health iiiformation entitled to be kept confidential, and ensure that protection is

afforded only to material so entitled, it is, pursuant to the Court' s authority under Federal

Rule of Criminal Procedure 16 and with the consent of the parties, ORDERED as follows:

   (1)     Production of Confidential Information By The United States That May Be
           Subject to the Privacy Act, 5 U.S.C. § 552a to 45 C.F.R. §§ 164.102-164.534,
           or to 42 U.S.C. § 1306 or Other Privacy Protections

               The United States may produce certain individually identifiable health

information (defined as health information that is connected to a patient' s name, address,

Social Security number or other identifying number, including Health Insurance Claim

("HIC") number) to the defendant, pursuant to the defendant's discovery requests. The




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information produced may be subject to the provisions of the Privacy Act, 5 U.S.C. § 552a,

to the provisions of.45 C.F.R. §§ 164.102-164.534, or to the provisions of 42 U.S.C. § 1306,

or there may be no waiver by the patient to produce the records to any entity outside the

United States. The United States may also produce in response to the defendant's discovery

requests confidential tax records, confidential financial information, and other records

containing personal identifying information, such as social security numbers and bank

account numbers. The United States shall produce these documents unredacted to the

defendant. Upon producing these documents to the defendant, the United States shall

designate them as confidential. The defendant, including defendant's counsel and their

respective personnel, may use these documents only for purposes of the litigation. Defense

counsel may disclose documents containing a patient's individually identifiable health

information for the purposes of the litigation to (1) the patient whose health information is

recorded in the documents and (2) to health care providers identified in the documents as

having rendered services or items to the patient. Defense counsel must keep a record of the

individuals and entities to which such disclosures are made, including the date of the

disclosure. For purposes of the litigation, defense counsel may also disclose documents to

other non-parties only if the non-parties sign the form of acknowledgement attached to this

Order. The defendant shall not file these documents with or submit them to the Court or

reproduce their contents in any court filing unless the document or filing is placed under seal

or all information that would identify the subject of the document or filing has been removed.

Within 90 days of the final conclusion of this litigation, the defendant shall return the

documents designated confidential and all copies, as well as all notes, memoranda,

summaries, or other documents containing information from the designated confidential


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documents, to counsel for the United States, or shall destroy them and certify in writing to

counsel for the United States that the documents have been destroyed.

   (2)     Confidential Information in Open Court

              The procedures for use of designated confidential documents during any

hearing or the trial of this matter shall be determined by the parties and the Court in advance

of the hearing or trial. The parties shall consider redacting confidential documents to remove

individual patient identifiers and other confidential information, make a request to the Court

to submit such documents under seal, code the documents to substitute a numerical or other

designation for the patient' s name or other identifying information, request that any exhibit

be placed under seal, introduce summary evidence where practicable which may be more

easily redacted, and assure that all Social Security and HIC numbers associated with the

names of individual patients have been removed. No party shall disclose designated

confidential documents in open Court without prior consideration by the Court.

   (3)     No Waiver

               The failure to designate any materials as provided in paragraph 1 shall not

constitute a waiver of a party' s assertion that the materials are covered by this Protective

Order.




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   (4)     No Ruling on Discoverability Nor Admissibility

               This Protective Order does not constitute a ruling on the question of whether

any particular material is properly discoverable or admissible and does not constitute any

ruling on any potential objection to the discoverability of any material.

SO ORDERED:

DATED: October 16, 2020




                                                     s/ WFK
                                           HON. WILLIAM F. KUNTZ, II
                                           UNITED STATES DISTRICT WDGE
                                           EASTERN DISTRICT OF NEW YORK




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   ACKNOWLEDGEMENT OF TERMS AND CONDITIONS OF PROTECTIVE
                         ORDER

              The undersigned does hereby acknowledge and agree to the terms of the
Protective Order Governing the Disclosure of Confidential Information in the case of United
States v. Gorgi Naumovski, 20-cr-384.

                               10/ 13/ 2020


Gorgi Naumovski
Defendant



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Robert Radick, Esq.
Attorney for Defendant




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